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         R. Chris Heck
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                                                           July 15, 2011

      BY ELECTRONIC MAIL
      AND FIRST CLASS MAIL

      Carter L. Williams
      Sutherland Asbill & Brennan LLP
      1001 Fannin Street, Suite 3700
      Houston, TX 77002

                           Re:         Internal Investigation Documents Over Which Transocean Claims Work
                                       Product Privilege in In Re: Oil Spill by the Oil Rig "Deepwater Horizon"
                                       in the GulfofMexico, on April 20, 2010, MDL No. 2179
      Dear Carter:

               Your July 15, 2011 letter does not address the point of my prior correspondence, which is
      that Transocean has waived any work product privilege over all documents relating to
      Transocean's internal investigation by publicly disclosing the Transocean internal investigation
      report. I am aware that since July 6 Transocean has produced a large volume of documents
      relating to its investigation and BP currently is reviewing those documents. But I do not see how
      this is relevant to the question of Transocean's waiver of work product privilege. Transocean's
      waiver depends on the fact of publicly reporting the results of its investigation, not how many
      documents it has produced.

             I reiterate BP's request pursuant to FRCP 37 to meet and confer as soon as possible if
      Transocean is not willing to produce the documents related to its internal investigation over
      which it claims work product privilege. I propose that I call you on Wednesday, July 20 at 2:00
      pm CT for a meet-and-confer. I am open to a different time if that would work better for you.
                                                                         Sincerely,



                                                                         R. Chris Heck
      cc:       Richard C. Godfrey, P.C.
                Andrew Langan, P.C.
                Barry E. Fields, P.C.
                Don K. Haycraft
                Steven L. Roberts
                Kerry J. Miller

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